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          Date:
          Date:      Tuesday, June
                     Tuesday, June 19
                                   192O1812:47PM
                                      2018 12:47 PM
          Subject: RE:
          Subject: RE: Sorry...
                       Sorry...
          From:
          From:      Adrian Ong
                     Adrian Ong <
                                <                    match.com>
                                                     @match.com>
          To:
          To:        Purnima Kochikar
                     Purnima Kochikar <
                                      <                 rgoogIe.com>; Brandon
                                                        r@google.com>; Brandon Barras
                                                                               Barras                       sgoogIe.com>;
                                                                                                            s@google.com>;
          CC:
          CC:        Alyssa Ablao
                     Alyssa Ablao              ogoogIe.com>; Ian
                                               o@google.com>; Ian Purves
                                                                  Purves <
                                                                         <                         @match.com>;
                                                                                                    @match.com>;

      Hii Purnima
      H

                  1. We
                  1.    We testeded POE
                                    POE (all
                                          (all markets)
                                               market and     nd Meetic
                                                                  Meetic (Germany
                                                                            (Germany only).
                                                                                         only). IIknow
                                                                                                   know POE
                                                                                                          POE we've    been running
                                                                                                                we've been  running a  atest
                                                                                                                                         test over
                                                                                                                                              over many
                                                                                                                                                   many
                  mon' sbut Meetic
                  months         P etic I'm
                                          I'm still
                                               stil awaiting all'I the'e specifics.
                  2. On POF, the user
                  2.   '              'r seessees the ie same subscription options(we       (we did
                                                                                                 did aa1/3/6 product mix to setup
                                                                                                                         "      setup an
                                                                                                                                       an even
                                                                                                                                           even test since I've
                                                                                                                                                            I've
                  heard that apparently  tly Google
                                              Goo,       will now not be supporting the     th e 2/4/8
                                                                                                 2/4/8 month
                                                                                                        rr,      mix which we    find optimizes
                                                                                                                            we find   optimize conversion    nfor
                                                                                                                                                                for
                  POE). II
                  POE).                 Meetic Germany,
                            believe oni Meetic     1             we're not supporting certain     iin installment
                                                                                                      insti lIme           nts +
                                                                                                                    payments      the direct
                                                                                                                                + the  direct debit
                                                                                                                                              debit solution wewe
                  use in
                  use   i Germany but more rr re toto follow
                                                       f II    once I11have
                                                                         - ye all
                                                                                zItheespecifics.IWere        seeing more
                                                                                                    rle're seeing    more users
                                                                                                                           use shift into
                                                                                                                                        into 1M
                                                                                                                                              1M packages
                                                                                                                                                  packa
                  whic     r
                  which results      I ier LTV
                                  in lower    LTV and
                                                    and this
                                                          thi is furtherier compounded
                                                                             compounded by the    he fact
                                                                                                      fact that
                                                                                                            that retention
                                                                                                                 retention is significantly vworse.
                  3. On
                  3.    on that
                            t note,
                                 note, retention
                                       retention II    think is the real issue
                                                       think                 issue since
                                                                                   since the
                                                                                          the customer
                                                                                               custon       is having
                                                                                                            is having the
                                                                                                                      the same
                                                                                                                          s i experience regardless
                                                                                                                                               ri          of
                  payment method.
                  payment     method. My My hypothesis
                                               hypothesis here  ei is that  it GPB
                                                                               GPB makes
                                                                                   makes it it much
                                                                                               m      easierrto cancel a subscriptioni — which
                                                                                                                                        -   whi    is positive
                  fi om a customer
                  from            ner experience
                                      experience perspective
                                                       p               but clearlyr will  ha
                                                                                     will have   negative LTV impact across most, if not, all of our brands ands
                                         ross the
                  if this holds true across     the board.
                                                     bocii u Voluntary
                                                               V              churn due to switching off renewal is significantly higher and renewal         al
                                           orIOSarean
                  rates on credit card orlOS       are anywhere from 100 to over
                                                                  -                    c     200% higher depending on the platform and product
                  ft
                  length.   I've noted that on onlOS     there are
                                                   IOS there     aerr more steps to turn off renewal including signing in with your password in
                  order to r                        payments related.
                             manage anything payments              related,
                  4.. Lastly,
                  4     Lastly, v             r
                                we then compute        a130%    rev share
                                                          30% rev    share on on top
                                                                                 top of
                                                                                      of these
                                                                                         these numbers
                                                                                                 n 7         anddwe're  looking at
                                                                                                                  we're looking  at a
                                                                                                                                    aworld
                                                                                                                                      world of pain

      Thanks
      Thanks
      -AO
      -AO

      From: Purnima
      From:  Purnima Kochikar
                       Kochikar                @google.com]
                                               @google.corn]
      Sent: Tuesday,
      Sent: Tuesday, June
                      June 19,
                            19, 2018
                                2018 11:01
                                     11:01 AM
                                           AM
      To: Adrian Ong <
      To:                          g@match.com>;
                                   g@match.com>; Brandon Barras                              @google.com>
      Cc: Alyssa
      Cc: Alyssa Ablao
                 Ablao <<       o@google.com>
                                o@google.com>
      Subject: Re:
      Subject: Re: Sorry...
                   Sorry...


      Hi Adrian,
      Hi Adrian,

      So sorry
      So sorry I1missed
                 missed what
                        what would have been
                             would have been an
                                             an important
                                                important discussion.
                                                          discussion.

      Would you
      Would     please share
            you please share a
                             afew
                               few more
                                   more details
                                        details (adding
                                                (adding Brandon
                                                        Brandon who may already
                                                                who may already have
                                                                                have these
                                                                                     these details)...
                                                                                           details)...

        Which apps
      - Which
      -        apps did
                    did you  test and
                         you test and in
                                       in which   markets over
                                          which markets     over what  period?
                                                                 what period?
        Do you  have  hypothesis  on  why  the  shift is happening  to
      - Do you have hypothesis on why the shift is happening to smaller
      -                                                                smaller intervals?
                                                                               intervals? Does
                                                                                          Does the
                                                                                                the user
                                                                                                    user see
                                                                                                         see the
                                                                                                             the same
                                                                                                                 same
      subscriptions options
      subscriptions  options on
                             on your   own billing
                                 your own    billing solution
                                                      solution and
                                                               and on
                                                                   on GPB?
                                                                       GPB?
        You had
      - You
      -     had previously
                 previously talked
                             talked about
                                     about not
                                            not enough
                                                 enough signals
                                                          signals to
                                                                  to proactively
                                                                     proactively anticipate
                                                                                 anticipate and
                                                                                            and address
                                                                                                address chum.
                                                                                                         chum. IsIs this
                                                                                                                    this still
                                                                                                                         still
      the predominant
      the predominant reason
                        reason for
                                for more
                                    more churn
                                           churn onon GPB?
                                                       GPB? What
                                                              What signals
                                                                     signals would help you
                                                                             would help      reduce the
                                                                                        you reduce  the churn?
                                                                                                        churn?

      Thank you
      Thank     for your
            you for      continued partnership.
                    your continued partnership. We
                                                We will make the
                                                   will make the platform
                                                                 platform better
                                                                          better together.
                                                                                 together.

      P




      OnTue,
      On      Jun 19,
         Tue, Jun 19, 2018
                      2018 at
                           at 11:56 AM Adrian
                                :56 AM Adrian Ong
                                              Ong <
                                                  <                                          @match.com > wrote:
                                                                                                          wrote:                               Exhibit
                                                                                                                                              DX 0928
                                                                                                                                     EXHIBIT 10928
Confidential
Confidential                                                                                                                      MATCHGOOGLE00087739
                                                                                                                                  MATCHGOOGLE00087739

                                                                                                                                      EXHIBIT 10928-001
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        Thank you
        Thank  you - I1also
                     - also have
                            have an
                                 an update
                                    update on
                                            on some
                                               some GBP
                                                    GBP tests
                                                         tests we  have run
                                                               we have  run ... unfortunately
                                                                                unfortunately not
                                                                              ...             not very
                                                                                                  very positive
                                                                                                       positive
        (negative  revenue  impact due to package mix shift to shorter term packages   and significantly
       (negative revenue impact due to package mix shift to shorter term packages and significantly lowerlower retention
                                                                                                                retention
        rates on
        rates on renewal).
                 renewal).

        On Jun
        On  Jun 19,
                19, 2018,
                    2018, at
                          at 10:43
                             10:43 AM,
                                   AM, Purnima
                                       Purnima Kochikar
                                               Kochikar <    <                      <mailto:
                                                                       r@google.com <mailto:                         >>
                                                                                                        r@google.com >>
        wrote:
        wrote:

        Hi Adrian,
        Hi Adrian,

        IIam
          am in
              in NYC
                 NYC for
                      for work  and had
                          work and  had an
                                        an unexpected
                                           unexpected conflict.
                                                        conflict. Sorry
                                                                  Sorry IIcould
                                                                           could not
                                                                                 not make
                                                                                     make your  call. IIthought
                                                                                          your call.     thought IIemailed
                                                                                                                   emailed
         you through the
         you through the calendar,
                         calendar, but
                                   but realized
                                       realized that
                                                that you are not
                                                     you are not on
                                                                 on the
                                                                    the invite,
                                                                        invite, only
                                                                                only Alyssa
                                                                                     Alyssa was.  My apologies.
                                                                                            was. My     apologies.

        A quick
        A quick update
                 update - we discussed your
                          we discussed
                           -                  feedback at
                                        your feedback  at length
                                                          length and
                                                                 and we  are taking
                                                                     we are  taking the
                                                                                    the time
                                                                                        time to
                                                                                             to figure
                                                                                                figure out
                                                                                                       out how
                                                                                                           how best
                                                                                                               best to
                                                                                                                    to
        address. Nothing
        address.  Nothing new
                           new to
                               to report
                                  report at
                                         at this
                                            this time.
                                                 time. We
                                                       We will  keep you
                                                           will keep     posted.
                                                                     you posted.

        Alyssa, please
        Alyssa, please reschedule.
                       reschedule. Thanks.
                                   Thanks.

        P



        Pumima Kochikar
        Pumima   Kochikar
        Google Play,
        Google Play, Apps
                     Apps &
                          & Games
                            Games
                             <mailto:
                r4google.com <mailto:             (&,google.com >




      Pumima Kochikar
      Pumima  Kochikar
      Google Play,
      Google Play, Apps
                   Apps &
                        & Games
                           Games
              0 (Inogle.com
      +
      +




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Confidential                                                                                      MATCHGOOGLE0008774O
                                                                                                  MATCHGOOGLE00087740

                                                                                                     EXHIBIT 10928-002
